Case 2:18-po-00153-CKD Document 8 Filed 10/18/19 Page 1of1

 

FILED

UNITED STATES DISTRICT COURT October 18, 2019
EASTERN DISTRICT OF CALIFORNIA

CLERK, US DSITRICT COURT
EASTERN DISTRICT OF
CALIFORNIA te

 

 

 

UNITED STATES OF AMERICA, Case No. 2:18-po-00153-DB

Plaintiff,

V. ORDER FOR RELEASE OF
PERSON IN CUSTODY

JOHN M. OGLESBY,

Defendant.

 

 

TO: UNITED STATES MARSHAL:
This is to authorize and direct you to release JOHN M. OGLESBY ,

Case No. 2:18-po-00153-DB_ Charge 41CFR 102.74.370 , from custody for the

following reasons:

Release on Personal Recognizance

Bail Posted in the Sum of $

 

Unsecured Appearance Bond $

 

Appearance Bond with 10% Deposit
Appearance Bond with Surety
Corporate Surety Bail Bond

__X__ (Other): TIME SERVED

 

Issued at Sacramento, California on October 18, 2019 at — Os 2 Mey,

5 ! / /
By: Cvrk (Coy

Magistrate Judge Carolyn k. Delaney

 

 

 
